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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division
____________________________________
                                     )
TRUSTEES OF THE PLUMBERS             )
AND STEAMFITTERS UNION               )
LOCAL NO. 10 APPRENTICESHIP          )
FUND,                                )
                                     )
            Plaintiff,               )
                                     )
v.                                   )    Civil Action No.: 3:24-cv-00180
                                     )
                                     )
VICTORIA NAPKY,                      )
                                     )
            Defendant.               )
____________________________________)

                                   MOTION TO DISMISS

       COMES NOW Defendant Victoria Napky, by counsel and pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, and moves this Court to dismiss the Complaint of Plaintiff

Trustees of the Plumbers and Steamfitters Union Local No. 10 Apprenticeship Fund (“Plaintiff”)

in its entirety, as it fails to state a claim upon which relief can be granted and, as to any

remaining state law claims, for lack of jurisdiction pursuant to Rule 12(b)(1). The specific

grounds for this Motion are set forth in detail in the accompanying Memorandum of Law in

Support of Motion to Dismiss.

       WHEREFORE, Defendant respectfully requests that this Court enter an Order granting

her Motion to Dismiss and dismissing the Complaint, and for such other relief as the Court

deems just and proper.
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                DEFENDANT’S POSITION REGARDING HEARING ON MOTION

       Defendant asserts that the issues presented in this Motion are purely legal and does not

request oral argument of the Motion. However, if the Court finds that a hearing will aid the

decisional process, Defendant would be eager to participate.

                                                    Respectfully Submitted,

                                                    /s/ Mark J. Passero
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                                                    Counsel for Defendant




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                               CERTIFICATE OF SERVICE

       On this 29th day of April 2024, I certify that the foregoing document was served via the

Court’s ECF system upon all counsel of record, including the following:

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                                      Counsel for Plaintiff



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